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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Case No. 1:20-CV-08786

Plaintiff, CLERK’S CERTIFICATE

~against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity,

Defendant.

X

 

I, RUBY J. KRAJICK, Clerk of the Unites States District Court for the Southern District

of New York, do hereby certify that this action commenced on October 22, 2020 and a Summons
was issued on October 22, 2020, a copy of summons and complaint was served on defendant 100

BROAD STREET, LLC a/k/a ESSEN FOOD. by serving STEVE (last name refused), an
authorized agent of 100 BROAD STREET, LLC a/k/a ESSEN FOOD, on December |", 2020
and proof of such service therefore filed on December 4th, 2020. Doc.#(s) 11.

I further certify that the docket entries indicate that the defendant has not filed an answer or
otherwise moved with respect to the complaint herein. The default of the defendant (s) is/are

hereby noted.

Dated: New York, New York
February8 29 21 RUBY J. KRAJICK
Clerk of Court

K Mango

Deputy Clerk

By:

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC, Case No. 1:20-CV-08786

Plaintiff, CLERK’S CERTIFICATE

-against-
100 BROAD STREET, LLC a/k/a ESSEN FOOD.
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,

CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendant.
x

 

I, RUBY J. KRAJICK, Clerk of the Unites States District Court for the Southern District
of New York. do hereby certify that this action commenced on October 22. 2020 and a Summons
was issued on October 22, 2020, a copy of summons and complaint was served on defendant
. a ESSEN FOOD. by serving STEVE (last name refused), an authorized agent
of ESSEN22 LLC a/k/a ESSEN FOOD. on December 1. 2020 and proof of such service
therefore filed on December 4th, 2020, Doc.#(s) 12.

I further certify that the docket entries indicate that the defendant has not filed an answer or
otherwise moved with respect to the complaint herein, The default of the defendant (s) is/are

 

hereby noted,

Dated: New York. New York
February8 = 39 21 RUBY J. KRAJICK
Clerk of Court

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By:
Deputy Clerk

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Case No. 1:20-CV-08786

Plaintiff. CLERK’S CERTIFICATE

~against-

100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,
CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity.

Defendant.

X

 

I, RUBY J. KRAJICK. Clerk of the Unites States District Court for the Southern District
of New York, do hereby certify that this action commenced on October 22. 2020 and a Summons
was issued on October 22, 2020, a copy of'summons and complaint was served on defendant
JOHN BYUN, by serving STEVE (last name refused), an authorized agent of JOHN BYUN at
the Defendant's actual place of business. on December 1“, 2020 and proof of such service therefore
filed on December 4th, 2020, Doc.#(s) 13.

I further certify that the docket entries indicate that the defendant has not filed an answer or
otherwise moved with respect to the complaint herein. The default of the defendant (s) is/are

hereby noted.

Dated: New York, New York

February8 5921 _ RUDY J. KRAJICK
Clerk of Court

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By:
Deputy Clerk

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Xx
K & S PRODUCE, INC. Case No. 1:20-CV-08786

Plaintiff, CLERK’S CERTIFICATE

~against-
100 BROAD STREET, LLC a/k/a ESSEN FOOD.
ESSEN22 LLC a/k/a ESSEN F OOD, JOHN BYUN,
CHONG WON BYUN. and WILLIAM BYUN
Individually and in any corporate capacity.
Defendant.

X

 

I, RUBY J. KRAJICK. Clerk of the Unites States District Court for the Southern District
of New York, do hereby certi fy that this action commenced on October 22. 2020 and a Summons
was issued on October 22, 2020, a copy of summons and complaint was served on defendant
CHONG WON BYUN, by serving STEVE (last name refused), an authorized agent of CHONG
WON BYUN at the Defendant’s actual place of business, on December 1°, 2020 and proof of such
service therefore filed on December 4th, 2020, Doc.A(s) 14.

I further certify that the docket entries indicate that the defendant has not filed an answer or
otherwise moved with respect to the complaint herein. The default of the defendant (s) is/are
hereby noted.

Dated: New York, New York

 

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Deputy Clerk

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UNITED STATES DISTRICT C OURT
SOUTHERN DISTRICT OF NEW YORK

 

K & S PRODUCE, INC. Case No. 1:20-CV-08786

Plaintiff, CLERK’S CERTIFICATE

-against-
100 BROAD STREET, LLC a/k/a ESSEN FOOD,
ESSEN22 LLC a/k/a ESSEN FOOD, JOHN BYUN,

CHONG WON BYUN, and WILLIAM BYUN
Individually and in any corporate capacity,

Defendant.

X

 

I, RUBY J. KRAJICK, Clerk of the Unites States District Court for the Southern District
of New York, do hereby certify that this action commenced on October 22, 2020 and a Summons
was issued on October 22, 2020. a copy of summons and complaint was served on defendant
WILLIAM _BYUN, by serving STEVE (last name refused), an authorized agent of

WILLIAM BYUN at the Defendant's actual place of business, on December 1*, 2020 and proof of

such service therefore filed on December 4th, 2020. Doc.#(s) 15,
I further certify that the docket entries indicate that the defendant has not filed an answer
or otherwise moved with respect to the complaint herein. The default of the defendant (s) is/are

hereby noted.

Dated: New York, New York

 

February8 29 21 RUBY J. KRAJICK
Clerk of Court
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* By:
Deputy Clerk

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